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 7                                UNITED STATES DISTRICT COURT
 8                                         DISTRICT OF NEVADA
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10                                             )
     UNITED STATES OF AMERICA,                 )
11                                             )
                                   Plaintiff,  )                   Case No. 2:08-cr-00163-JCM-GWF
12                                             )
     vs.                                       )                   ORDER
13                                             )
     ALFREDO FLORES, et. al.,                  )
14                                             )                   Substitution of Attorney (#558)
                                   Defendants. )
15   __________________________________________)
16          This matter is before the Court on Defendant Alfredo Flores’ Substitution of Counsel (#558),
17   filed December 14, 2010. Defendant seeks the Court’s leave to substitute Anthony P. Brooklier in
18   place of James A. Oronoz as counsel of record for Alfredo Flores. Upon review and consideration,
19          IT IS HEREBY ORDERED that Defendant Alfredo Flores’ Substitution of Counsel (#558) is
20   granted. James Oronoz shall be withdrawn as counsel for Defendant Flores.
21          DATED this 20th day of December, 2010.
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                                                   GEORGE FOLEY, JR.
24                                                 UNITED STATES MAGISTRATE JUDGE
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